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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE

                   Plaintiff,
                                               15 Civ. 7433 (LAP)
-against-
                                                      ORDER
GHISLAINE MAXWELL,

                   Defendant.


LORETTA A. PRESKA, Senior United States District Judge:

     The Court has reviewed Defendant Ghislaine Maxwell’s letter

dated September 30, 2020, and Plaintiff Virginia Giuffre’s letter

dated October 1, 2020.     (See dkt. nos. 1123-24.)        Those letters

concern an email sent on September 25, 2020, by Does 1 and 2 to

the Court and to the parties (1) stating that Doe 1 and Doe 2 did

not generally object to unsealing documents, (2) objecting to the

unsealing of their names out of respect for their privacy, and (3)

requesting excerpts of sealed materials that mention them for their

review (the “September 25 Email”).

     The parties dispute the procedural import of the September 25

Email under the Protocol governing the unsealing of documents in

this action. (Dkt. no. 1108.) The Protocol provides that, within

14 days of service of excerpts upon a non-party, the relevant non-

party may submit to the Court an “objection” to unsealing which

“[states] briefly the reasons for the objection” and “[identifies]

any countervailing interest that militates against unsealing.”

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(Id. ¶ 2(d).)     Once a non-party has served his or her objection on

Ms. Maxwell and Ms. Giuffre--or once 14 days have elapsed without

action by the non-party--the parties have 7 days to file their own

objections to unsealing.          (Id. ¶¶ 2(e)-(f).)        Here, Ms. Giuffre

believes that the September 25 Email amounted to a non-party

objection for purposes of Paragraph 2(d) of the Protocol, thereby

triggering the 7-day clock under Paragraph 2(e) for Ms. Maxwell to

file her own objection to unsealing. (Dkt. no. 1124.) Ms. Maxwell

argues that the clock is not yet running.           (Dkt. no. 1123.)

     Ms. Maxwell wins the day here.         First, the plain terms of the

Protocol suggest that the 7-day clock is not yet running.              As Ms.

Maxwell points out, the Protocol contemplates specifically that a

non-party has 14 days to object to unsealing after service of the

relevant excerpts, (dkt. no. 1108 ¶ 2(d) (emphasis added)), and

Does 1 and 2 had not yet received their excerpts when they

submitted the September 25 Email.           This makes sense, as a non-

party cannot fully articulate any objection to unsealing without

knowing the context in which he or she is mentioned in the sealed

materials      (and   therefore     any    countervailing      interests    to

unsealing).

     Second, refusing to consider the September 25 Email a formal

objection for purposes of Paragraph 2(d) comports with the core

purpose   of   the    Protocol,    which   was   designed    specifically   to

facilitate the participation of non-parties to the fullest extent

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practicable.        Construing the September 25 Email, which as an

objection would be half-baked by any measure, as triggering the 7-

day clock in Paragraph 2(e) would amount to a conscious decision

by the Court to undercut that purpose.              Should Does 1 and 2 wish

to submit a more thorough explanation for their objection, doing

so would be to the benefit of all involved in this process.

     Third,    and    relatedly,   that      Does   1   and    2   are    (for   now)

proceeding pro se further counsels in favor of a finding that the

September 25 Email is not a formal objection for purposes of

Paragraph 2(d) of the Protocol.               Here, the ambiguity in the

September     25    Email   may   be   the    product     of       Does   1   and    2

misunderstanding the process provided by the Protocol, which to

those unrepresented by counsel may understandably appear dense and

convoluted.        For example, the September 25 Email is internally

inconsistent in that it purports not to object to unsealing but in

the same breath objects to the unsealing of the names of Does 1

and 2.      This evinces a fundamental misunderstanding about the

process at hand--after all, an objection by Does 1 and 2 to the

release of their names is itself an objection to unsealing.                         The

Court will not find that Does 1 and 2 waived their right to receive

their excerpts or to otherwise file a full objection when they may




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not have had a working understanding of the process in the first

place.1

     Ms. Giuffre argues that “[a]llowing Non-Parties multiple

opportunities to object to unsealing would set a precedent that

would exponentially delay this process.” (Dkt. no. 1124 at 2.)

This point is well-taken, but it is of little concern here.            The

Court, of course, would not permit a non-party to manipulate the

process prescribed by the Protocol to file multiple objections or

otherwise to create undue delay.       This is not such a circumstance.

As discussed above, it is far more likely that Does 1 and 2

misunderstood   the   somewhat   Byzantine   process   provided   by   the

Protocol in submitting the September 25 Email.         The Court is thus

less concerned about any precedent it sets by permitting Does 1

and 2 the full 14 days to submit a formal objection to unsealing

as provided by Paragraph 2(d) of the Protocol.

     Accordingly, the September 25 Email submitted by Does 1 and

2 shall not be construed as a formal objection to unsealing under

Paragraph 2(d) of the Protocol.      Pursuant to Paragraph 2(d), Does


1 In the past, the Court has also stressed that the public
legitimacy of the unsealing process is critically important. That
is to say, the unsealing process will be undermined if non-parties
are unduly dissuaded from participating in it. (See, e.g., dkt.
no. 1071 at 10.)    Whether due to means or personal preference,
many non-parties may elect, as Does and 1 and 2 have here, to
participate unrepresented in the unsealing process.       Strictly
construing the terms of the Protocol against pro se participants
in the unsealing process might serve to dissuade similarly-
situated individuals from participating at all.
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1 and 2 shall have 14 days after service of the requested excerpts

to file a formal objection to unsealing.       The original parties to

this action may file their own objection to unsealing no later

than (1) 7 days after service of any formal objection by Does 1

and 2, as provided by Paragraph 2(e) of the Protocol or (2) 7 days

after the time period for Does 1 and 2 to object has expired, as

provided by Paragraph 2(f) of the Protocol. The Court will provide

a copy of this order to Does 1 and 2 by email.

SO ORDERED.

Dated:    New York, New York
          October 2, 2020


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LORETTA A. PRESKA
Senior United States District Judge




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